                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

HENRY E. HILDEBRAND, III,                        )
CHAPTER 13 TRUSTEE,                              )
                                                 )
        Plaintiff,                               )   Case No. 3:21-cv-00746
                                                 )
v.                                               )   District Judge Trauger
                                                 )
THE LAMPO GROUP, LLC,                            )   Jury Demand
                                                 )
        Defendant.                               )

                                             ORDER

        The parties have filed a Joint Stipulation of Dismissal pursuant to Rule 41 of the Federal

Rules of Civil Procedure. Therefore, the Court ORDERS the following:

     1. This case is DISMISSED WITH PREJUDICE; and

     2. Each party will bear their own attorney’s fees and costs.

It is so ORDERED.



                                              ALETA A. TRAUGER
                                              U.S. District Judge




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APPROVED FOR ENTRY:


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